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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

 BOBBY LOUIS PECK,                     )
                                       )
                   Plaintiff,          )
                                       )     CAUSE NO. 3:06-CV-226 AS
       v.                              )
                                       )
 CECIL K. DAVIS, et al.,               )
                                       )
                   Defendants.         )

                                OPINION AND ORDER

       This matter is before the court to sua sponte reconsider its screening order

 of July 21, 2006. Bobby Louis Peck, a pro se prisoner, alleged that based on false

 reports, he was charged and found guilty of violating a prison rule for which he

 lost good time credit. On appeal the findings were overturned. On re-hearing, he

 was found guilty and again lost good-time. On appeal, the findings were

 overturned and the sanctions rescinded. He alleges that he was denied the

 opportunity to present evidence at both hearings.

       Mr. Peck alleges that James L. Cadwell, Bessie E. Leonard, and Ernesto

 Delao denied him due process during his C.A.B. re-hearing on April 7, 2005 when

 they refused to consider exculpatory evidence which he sought to introduce. He

 also alleges that John C. Cosich, Larry A. Ludwig, and Kyle R. Moore denied him

 due process during his C.A.B. hearing on June 22, 2005 when they refused to

 consider exculpatory evidence which he sought to introduce.
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       Mr. Peck faces a double bind in his challenge to the C.A.B.’s rulings on his

 efforts to introduce evidence. He could not file this civil rights suit until his C.A.B.

 convictions were set aside because a judgment in his favor would have necessarily

 implied the convictions’ invalidity. See Heck v. Humphrey, 512 U.S. 477 (1994)

 and Edwards v. Balisok, 520 U.S. 641 (1997). But now that the convictions have

 been reversed and his good-time credits restored, he has no basis for a federal

 suit. The protections of the due process clause do not attach unless Peck was

 deprived of a liberty interest. See Lekas v. Briley, 405 F.3d 602, 607 (7th Cir.

 2005). Since he has not lost good-time credits, he cannot claim a right to due

 process under Wolff v. McDonnell, 418 U.S. 539, 558 (1974). He was not punished

 because he did not, and will never, serve any additional time because it was

 restored before he began serving it. Furthermore, he cannot claim that he has a

 protected interest in avoiding other sanctions short of credit deprivation, which

 themselves do not even rise to the type of “atypical and significant hardship” that

 is protected by the due process clause. See Sandin v. Connor, 515 U.S. 472, 486

 (1995). Therefore these claims will be dismissed.

       Mr. Peck alleges that on March 2, 2005, Charles E. Whelan retaliated

 against him for testifying in a previous lawsuit by writing a false disciplinary

 report about him. Mr. Peck also alleges that Charles E. Whelan separately

 retaliated by providing evidence consistent with the report during his two C.A.B.

 hearings. These are not distinct acts of retaliation, but rather one continuous act.


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 Therefore these claims are addressed collectively. Prison officials may not retaliate

 against an inmate for exercising his First Amendment rights, even if their actions

 would not independently violate the Constitution. See Zimmerman v. Tribble, 226

 F.3d 568, 573 (7th Cir.2000). To state a claim for retaliation, the complaint must

 first allege that the plaintiff was engaged in a Constitutionally protected activity

 and second, that engaging in that activity was a substantial or motivating factor

 in the defendant’s actions against him. See Mt. Healthy City School District v.

 Doyle, 429 U.S. 274 (1977). That is to say, the plaintiff must allege that the

 retaliatory act would not have occurred “but for” the protected conduct. Giving Mr.

 Peck the benefit of the inferences to which he is entitled at the pleading stage of

 this proceeding, this states a claim for retaliation.

       Mr. Peck alleges that in addition to the false report by Charles E. Whelan

 on March 2, 2005, Barbara L. Roseborough and Farshawna L. Crook knowingly

 provided false reports about him on March 2, 2005 and April 4, 2005, respectively.

 An inmate states a claim under § 1983 if a guard knowingly prepares a false

 report that is the basis for sanctions against the inmate only if the inmate was

 also denied his rights under Wolff v. McDonnell, 418 U.S. 539 (1974).

       [A]n allegation that a prison guard planted false evidence which
       implicates an inmate in a disciplinary infraction fails to state a claim
       for which relief can be granted where the procedural due process
       protections as required in Wolff v. McDonnell are provided.

 Hanrahan v. Lane, 747 F.2d 1137, 1141 (7th Cir. 1983). As previously discussed,

 when his case was dismissed and his good-time restored, Mr. Peck was no longer

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 entitled to the due process protections of Wolff. Therefore these claims will be

 dismissed.

       Mr. Peck also alleges that John C. Cosich, Larry A. Ludwig, and Kyle R.

 Moore retaliated against him during his rehearing on June 22, 2006 by imposing

 greater punishment than he received from his first hearing. He alleges that they

 retaliated because he appealed his first hearing. Giving Mr. Peck the benefit of the

 inferences to which he is entitled at the pleading stage of this proceeding, this

 states a claim for retaliation.

       Additionally, Mr. Peck alleges that none of the C.A.B. members were

 impartial. Mr. Peck misunderstands the meaning of the impartial decision maker

 requirement. It is not mere duplication of the other Wolff rights and it is not

 violated merely because the decision maker violated one of them. Rather, it is

 violated only if the decision maker is substantially involved in the investigation of

 the charges against the inmate. See Merritt v. De Los Santos, 721 F.2d 598, 601

 (7th Cir. 1983). Here, Mr. Peck does not allege, and based on this complaint it

 would not be reasonable to infer, that any of these six C.A.B. members were

 substantially involved in the investigation of the charges against him. Therefore

 these claims will be dismissed.

       Mr. Peck alleges that Jason P. Nowatzke and Kristina J. McCarty denied

 him due process when they screened his case before each of the two C.A.B.

 hearings discussed above. Nothing that either of these defendants did at his


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 screenings could have denied him due process. Neither the due process

 requirements of the Constitution nor Wolff v. McDonnell, 418 U.S. 539 (1974)

 require screenings and Mr. Peck had no right to introduce any evidence at the

 screening. Therefore these claims and defendants will be dismissed.

       Mr. Peck alleges that Donald M. Bates twice denied him due process during

 his appeals of the C.A.B. determinations. Neither the due process requirements

 of the Constitution nor Wolff v. McDonnell, 418 U.S. 539 (1974) require the

 opportunity to appeal a C.A.B. ruling; therefore this claim and defendant will be

 dismissed.

       Mr. Peck alleges that Cecil K. Davis did not enforce I.D.O.C. policies, but the

 violation of an IDOC policy does not state a claim under § 1983. Alvarado v.

 Litscher, 267 F.3d 648, 651 (7th Cir. 2001). He alleges that Cecil K. Davis did not

 stop retaliation against him which he complained about nearly six or more months

 before the two separate acts of retaliation alleged in this lawsuit. At the time that

 Mr. Peck wrote to the Superintendent Davis, there was no retaliation to stop.

 Furthermore, he does not allege, and based on this complaint it would not be

 reasonable to infer, that Superintendent Davis had any personal involvement in

 writing the false disciplinary report or in selecting a punishment at his re-hearing.

 Finally Mr. Peck alleges that Cecil K. Davis did not protect is due process rights.

 Again, it would not be reasonable to infer that Superintendent Davis had any

 personal involvement in these disciplinary proceedings. “[T]he doctrine of


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 respondeat superior can not be used to hold a supervisor liable for conduct of a

 subordinate that violates a plaintiff's constitutional rights.” Chavez v. Illinois State

 Police, 251 F.3d 612, 651 (7th Cir. 2001) (citations and quotation marks omitted).

 Therefore these claims and this defendant will be dismissed.

       Mr. Peck seeks both injunctive relief and monetary damages from the

 defendants in both their individual and official capacities. “[A] suit against a[n] .

 . . official in his or her official capacity is not a suit against the official but rather

 is a suit against the official's office.” Will v. Michigan Dep’t of State Police, 491 U.S.

 58, 71 (1989). The Eleventh Amendment prohibits monetary damage suits against

 States and their agencies. Kashani v. Purdue University, 813 F.2d. 843, 845 (7th

 Cir. 1987). Therefore Mr. Peck may not proceed against any defendant in their

 official capacity for monetary damages.

       Injunctive relief may be obtained from a person in his official capacity under

 the doctrine of Ex Parte Young. Holton v. Ind. Horse Racing Comm'n, 398 F.3d 928,

 929 (7th Cir. 2005). But here, the injunctive relief Mr. Peck seeks is to prevent

 further retaliation. Because none of the retaliatory claims on which he is

 proceeding in this lawsuit is an official capacity claim, there is no basis for an

 official capacity injunction in this case. So though he may proceed on his

 injunctive relief claims against those individual capacity defendants against which

 he has a retaliation claim, the official capacity claims must be dismissed.




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         Several claims have survived, but Mr. Peck has not provided any summons

 nor any USM-285's for serving the remaining defendants in this case. With the

 previous screening order Mr. Peck was provided the necessary paperwork and

 granted time to prepare and submit a motion requesting service of process by the

 United States Marshals Service along with two properly completed summons and

 USM-285's for Charles E. Whelan, John C. Cosich, Larry A. Ludwig, and Kyle R.

 Moore. Mr. Peck is cautioned that if, before the deadline, he does not provide the

 court with the documents needed to serve these defendants, the remaining claims

 will be dismissed for not complying with an order of this court pursuant to FED .

 R. CIV . P. 41(b).

         For the foregoing reasons, the court:

         (1) RECONSIDERS, sua sponte, its screening order of July 21, 2006 (docket

 # 9);

         (2) GRANTS Bobby Louis Peck leave to proceed against Charles E. Whelan

 in his individual capacity for monetary damages and injunctive relief for retaliating

 against him for testifying during a prior lawsuit by writing a false disciplinary

 report on March 2, 2005 and providing evidence consistent with that report during

 his two C.A.B. hearings;

         (3) GRANTS Bobby Louis Peck leave to proceed against John C. Cosich,

 Larry A. Ludwig, and Kyle R. Moore in their individual capacities for monetary

 damages and injunctive relief for retaliating against him on June 22, 2005 for


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 appealing from his prior C.A.B. hearing by imposing greater punishment than he

 received at his first hearing;

       (4) DISMISSES all other claims;

       (5) DISMISSES Cecil K. Davis, Donald M. Bates,          Jason P. Nowatzke,

 Kristina J. McCarty, Barbara L. Roseborough, Farshawna L. Crook, James L.

 Cadwell, Bessie E. Leonard, and Ernesto Delao;

       (6) GRANTS Bobby Louis Peck to and including August 15, 2006 to submit

 a motion requesting service of process by the United States Marshals Service

 along with two properly completed summons and USM-285's for Charles E.

 Whelan, John C. Cosich, Larry A. Ludwig, and Kyle R. Moore; and

       (7) CAUTIONS Bobby Louis Peck that if, before that deadline, he does not

 provide the court with the documents needed to serve these defendants, the

 remaining claims of this amended complaint will be dismissed for not complying

 with an order of this court pursuant to Fed. R. Civ. P. 41(b).

       IT IS SO ORDERED.

       ENTERED: July 31 , 2006


                                            S/ ALLEN SHARP
                                       ALLEN SHARP, JUDGE
                                       UNITED STATES DISTRICT COURT




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